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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF KENTUCKY
                                     LOUISVILLE DIVISION

JANICE BOLIN,                                                                                Plaintiff,

v.                                                           Civil Action No. 3:17-cv-217-DJH-DW

PORTFOLIO RECOVERY ASSOCIATES,
LLC,                                                                                      Defendant.

                                               * * * * *

                                                ORDER

            The parties have filed a stipulation of dismissal with prejudice signed by all parties who

have appeared. (Docket No. 15) Accordingly, and the Court being otherwise sufficiently

advised, it is hereby

            ORDERED that this action stands DISMISSED with prejudice pursuant to Federal Rule

of Civil Procedure 41(a)(1)(A)(ii) and is STRICKEN from the Court’s active docket. All dates

and deadlines set in this matter are VACATED.

     June 27, 2017




                                                               David J. Hale, Judge
                                                            United States District Court




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